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                                                             #:10


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                     6 T.:
                           213.615.7000 I F: 833.264.2083

                     7 Attorneys for Defendant Horace Mann Property
                     8 and Casualty Insurance Company

                     9                         UNITED STATES DISTRICT COURT
                    10                        CENTRAL DISTRICT OF CALIFORNIA
                    11
                         STEPHEN CHAPMAN,                             Case No.
                    12                                                District Judge:
                    13                        Plaintiff,              DECLARATION OF MATTHEW
                                                                      RUBIN IN SUPPORT OF NOTICE
                    14         v.                                     OF REMOVAL OF ACTION
                    15 HORACE MANN PROPERTY &                         UNDER 28 U.S.C. § 1441; EXHIBIT
                       CASUALTY INSURANCE                             1
                    16 COMPANY,
                                                                      [Filed concurrently with Declaration of
                    17                                                Kristin Ingulsrud; Notice of Removal;
                                              Defendant.              Civil Cover Sheet; Notice of Interested
                    18                                                Parties]
                    19                                                State Complaint Filed: October 24, 2024
                                                                      Removal Filed:        December 6, 2024
                    20

                    21         I, Matthew Rubin, hereby declare as follows:
                    22         I am Vice President Property and Casualty Underwriting and Operations and, in
                    23   this position, I have knowledge of, among other things, policy issuances, renewals,
                    24   and cancellations on behalf of Horace Mann Property and Casualty Insurance
                    25   Company ("Horace Mann"). I have personal knowledge of the matters stated herein
                    26   based upon my review of business records. If called upon to testify, I would and could
                    27   competently do so.
Freeman Mathis
  8 Gary, LLP
Attorneys et Lew    28         2.    Attached as Exhibit 1 is a true and correct copy (but with redactions to

                                      DECLARATION OF MATTHEW RUBIN IN SUPPORT OF NOTICE OF REMOVAL
                                                                                                              01
                   Case 2:24-cv-10546-MWF-BFM       Document 1-2    Filed 12/06/24   Page 2 of 6 Page ID
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                     1   protect personal information) of the Renewal California Personal Auto Declarations
                     2   sent to Stephen Chapman for Policy No. 65000544570102 for the policy period
                     3   7/10/2022 to 1/10/2023, subject to payment of the required premium.
                     4         I declare under penalty of perjury and under the laws of the United States and
                     5   the State of California that the foregoing is true and correct to the best of my
                     6   knowledge and belief.
                     7         Executed this (     day of December, 2024 at Springfield, Illinois.
                     8

                     9

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                                                        Matthe Rubin
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Freeman Mathis
  & Gary, LLP
Attorneys at Law    28


                                     DECLARATION OF MATTHEW RUBIN IN SUPPORT OF NOTICE OF REMOVAL
                                                                                                           02
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                                   #:12




                   EXHIBIT 1
                                                                                                       Case 2:24-cv-10546-MWF-BFM              Document 1-2        Filed 12/06/24      Page 4 of 6 Page ID
                                                                                                                                                     #:13
                                                                                                                                                                     Renewal California Personal Auto Declarations
                                                                                                                                                             Horace Mann Property and Casualty Insurance Company
                                                                                               Named insured(s):                                                                Policy #: REDACTED
                                                                                00000A004007




                                                                                               STEPHEN CHAPMAN                                                                  Effective date: 07/10/2022
                                                                                                                                                                                                (05:01 a.m. local time)

                                                                                               REDACTED                                                                         Expiration date: 01/10/2023
                                                                                                                                                                                                (12:01 a.m. local time)
                                                                                                                                                                                Agent:
                                                                                                                                                                                         REDACTED
                                                                                                                                                                                         REDACTED
                                                                                               Insured by:
                                                                                               Horace Mann Property and Casualty Insurance Company
                                                                                               P.O. Box 19463
                                                                                               Springfield, IL 62794-9463

                                                                                               Driver(s)
                                                                                               STEPHEN CHAPMAN

                                                                                               Policy level coverages                                   Limits and deductibles                       Premiums
                                                                                               Bodily Injury Liability                                  $100,000/$300,000 (Per person/Per accident) REDACTED
                                                                                               Property Damage Liability                                $100,000 (Per accident)                     REDACTED
                                                                                               Medical Payments                                         $5,000 (Per insured)
                                                                                                                                                                                                    REDACTED
                                                                                                                                                                                                    REDACTED
                                                                                               Accidental Death, Dismemberment and Loss of Sight        Declined
                                                                                                                                                                                                    REDACTED
                                                                                               Uninsured/Underinsured Motor Vehicle Bodily Injury       $100,000/$300,000 (Per person/Per accident) REDACTED
                                                                                                                                                        Premium for policy level coverages          REDACTED

                                                                                               Vehicle level coverages
                                                                                               2017 Porsche MACAN S AWD,
                                                                                               Garaging ZIP: REDACTED
                                                                                                              REDACTED


                                                                                               Uninsured Motor Vehicle Property Damage                  Rejected
                                                                                               Other Than Collision                                     $500 deductible                          REDACTED
                                                                                               Collision                                                $500 deductible
                                                                                                                                                                                                 REDACTED
                                                                                               Emergency Road Service                                   Declined
                                                                                                                                                                                                 REDACTED
                                                                                                                                                                                                 REDACTED
                                                                                               Rental Reimbursement                                     $70 per day/maximum 30 days
*cf4251b9-28e3-d052-520f-f28454ab153c* #84868706-A7DA-4764-BFF6-0CB70EB66571#




                                                                                                                                                                                                 REDACTED
                                                                                               Additional or Custom Equipment                           Declined
                                                                                                                                                                                                 REDACTED
                                                                                               Better Car Replacement                                   Declined
                                                                                                                                                                                                 REDACTED
                                                                                                                                                        Premium for vehicle level coverages
                                                                                                                                                                                                 REDACTED
                                                                                               Discounts and surcharges



                                                                                               Premium summary
                                                                                               Total vehicle premium                                    REDACTED
                                                                                               Investigation and Prosecution of Fraudulent Automobile   REDACTED
                                                                                               Insurance Claims Fee                                     REDACTED
                                                                                               Consumer Services Fee                                    REDACTED


                                                                                               CL-V52CA1 (12-20)                                                                                             Page 1 of 2

                                                                                               1 Horace Mann Plaza, Springfield, IL 62715 - 800-999-1030                                            horacemann.com
                                                                                                                                                                                                                      03
                                                                                         Case 2:24-cv-10546-MWF-BFM                     Document 1-2 Filed 12/06/24                    Page 5 of 6 Page ID
                                                                                Fraud Division and Organized Automobile Fraud Activity       REDACTED
                                                                                                                                              #:14
                                                                                Interdiction Program Fee
                                                                                                                                                 REDACTED
                                                                                Total amount
                                                                                                                                                 REDACTED


                                                                                            This is not an invoice. An invoice or billing notification will be sent separately in the coming weeks.



                                                                                Forms and endorsements applicable to this policy
                                                                                CCN00CA1 12 20 PERSONAL AUTO POLICY CALIFORNIA

                                                                                Lienholder/Loss Payee/Lessor
                                                                                None

                                                                                Please read your policy carefully. This insurance policy is a legal contract between you and the company. For service call your agent, visit
                                                                                horacemann.com or call 800-999-1030. To report a claim call 800-999-1030 or visit horacemann.com.
*cf4251b9-28e3-d052-520f-f28454ab153c* #84868706-A7DA-4764-BFF6-0CB70EB66571#




                                                                                CL-V52CA1 (12-20)                                                                                                                Page 2 of 2

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                                                                                                                                                                                                                       04
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                     1                             CERTIFICATE OF SERVICE
                     2 I hereby certify that on the 6th day of December, 2024, I served the foregoing

                     3 document described as DECLARATION OF MATTHEW RUBIN IN SUPPORT

                     4 OF NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441;

                     5 EXHIBIT 1 via email and U.S. Mail, on the interested parties in this action as

                     6 follows:

                     7

                     8     STEPHEN CHAPMAN, IN PRO PER
                           7917 Selma Avenue 336
                     9     Los Angeles, CA 90046
                           T: 619.550.7543
                    10     stefinchapman@outlook.com
                    11

                    12
                               I declare under penalty of perjury under the laws of the United States of America
                    13
                         that the foregoing is true and correct and that I am employed in the office of a member
                    14
                         of the bar of this Court under whose direction the service was made.
                    15

                    16         Executed on December 6, 2024, at Houston, TX.
                    17

                    18                                          /s/ Connie Spears
                    19

                    20
                    21

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                    25

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                    27
Freeman Mathis
  & Gary, LLP
Attorneys at Law    28
